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14

15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION
18

19   IN RE: CATHODE RAY TUBE (CRT)                     Master File Case No. 3:07-cv-05944-JST
     ANTITRUST LITIGATION
20                                                     MDL No. 1917
21                                                     Individual Case No 3:11-cv-06397-JST
     This Document Relates to:
22
            Case No. 3:11-cv-06397-JST                 [PROPOSED] ORDER OF DISMISSAL
23                                                     WITH PREJUDICE
     COSTCO WHOLESALE CORPORATION,
24
                           Plaintiff,
25
                   v.
26
     HITACHI LTD., et al.,
27
                           Defendants.
28

     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
     Master File Case No. 3:07-cv-05944-JST; MDL No. 1917
       Case 3:07-cv-05944-JST Document 4599 Filed 04/25/16 Page 2 of 2



 1            The Court, having considered the stipulation of the parties, and good cause appearing,
 2   orders as follows:
 3            1. The action filed by Costco Wholesale Corporation is dismissed with prejudice as
 4                 against Samsung SDI America, Inc., Samsung SDI Co., Ltd., Samsung SDI (Malaysia)
 5                 Sdn. Bhd., Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen
 6                 Samsung SDI Co. Ltd., and Tianjin Samsung SDI Co., Ltd.
 7            2. This dismissal does not affect the rights or claims of Costco against any other
 8                 defendant in this litigation.
 9            3. Each party shall bear its own costs and attorneys’ fees.
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10            IT IS SO ORDERED.
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12   DATED: April 25, 2016                                                O  O
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                                                                 IT I Jon S. Tigar
                                                        The Honorable




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13                                                      United States District Judge

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     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
     Master File Case No. 3:07-cv-05944-JST; MDL No. 1917
